Case 1:20-cv-00052-SPW Document 267-3 Filed 09/27/23 Page 1 of 2

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Re: — Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al.
USDC Billings Division 20-CV-52-SPW-TIC
File No. 78280.001

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of
New York, Inc., et al.

USDC Billings Division 20-CV-59-SPW-TJC

File No. 78280.002

Counsel:
‘also licensed in
North Dakota Please be advised that Defendants Watchtower Bible and Tract Society of New York,
Inc., and Watchtower Bible and Tract Society of Pennsylvania, have jointly selected
Michael Butz, Ph.D., to serve as Rule 35, Fed. R. Civ. P., evaluator for the above
matters. A copy of Dr. Butz’s most recent CV is enclosed.

EXHIBIT

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Brown Law Firm, P.C.
April 10, 2023
Page 2 of 2

Due to the volume of documents and time needed to prepare, along with the logistics of
arranging your clients travel to Billings for their in-person evaluations, I expect these 4
evaluations will be staggered over the next 6-9 months. Please note that Defendants will not
accept remote forensic evaluations.

Dr. Butz has requested that Ariane Rowland’s evaluation be set first, on Friday May 26, 2023.
Please confirm her availability for this date. I will be back in touch with you shortly with respect
to the time and specific location in Billings.
Sincerely,

Jatt JA
Brett C. Jensen

BCJ

ce: Joel M. Taylor (via e-mail);
Gerry P. Fagan / Christopher T. Sweeney / Jordan W. FitzGerald (via e-mail)
